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                                                                                     -     TO OPEN COURT


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                   IN THE UNITED STATES DISTRICT COURT FOR T                  1^: CLERK. U.S. DISTRICT COURT
                                                                                         U FXANDRIA. VIRGINIA
                             EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division


 UNITED STATES OF AMERICA

        V.                                             No. I:20-CR-193


 PETER RAFAEL DZIBINSKI DEBBINS,

        Defendant.



                                      PLEA AGREEMENT


       G.Zachary Terwilliger, United States Attorney for the Eastern District of Virginia;

undersigned counsel for the United States; the defendant, Peter Rafael Dzibinski Debbins; and

the defendant's counsel have entered into an agreement pursuant to Rule II ofthe Federal Rules

of Criminal Procedure. The terms of this Plea Agreement are as follows:

        1.     Offense and Maximum Penalties


       The defendant agrees to plead guilty to Count One ofthe Indictment, charging the

defendant with conspiracy to gather or deliver defense information to aid a foreign government,

in violation of Title 18, United States Code, Sections 794(a)&(c). As set forth in the

accompanying statement offacts, the national defense information that is the subject ofthis

conspiracy and the terms ofthis plea agreement was, and is, classified at the Secret level. The

maximum penalties for this offense are: a maximum term of life in prison, a fine of $250,000, a

special assessment pursuant to IS U.S.C § 3013, and a maximum supervised release term offive

years. The defendant understands that any supervised release term is in addition to any prison

term the defendant may receive, and that a violation of a term of supervised release could result

in the defendant being returned to prison for the full term of supervised release.
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        2.     Detention Pending Sentencing

       The defendant understands that this case is governed by 18 U.S.C, §§ 3143(a)(2) and

3145(c). These provisions provide that a judicial officer shall order that a person who has been

found guilty ofan offense ofthis kind be detained unless there are statutory justifications why

such person's detention would not be appropriate.

        3.     Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty ofthe charged

offense. The defendant admits the facts set forth in the Statement of Facts filed with this Plea

Agreement and agrees that those facts establish guilt ofthe offense charged beyond a reasonable

doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,

constitutes a stipulation offacts for purposes of Section IB 1.2(c) ofthe Sentencing Guidelines.

        4.     Assistance and Advice of Counsel


       The defendant is satisfied that the defendant's attorney has rendered effective assistance.

The defendant understands that by entering into this Plea Agreement, the defendant surrenders

certain rights as provided in this agreement. The defendant understands that the rights of

criminal defendants include the following:

                       a.     the right to plead not guilty and to persist in that plea;

                       b.     the right to a jury trial;

                       c.     the right to be represented by counsel—^and, if necessary, have the
                       court appoint counsel—at trial and at every other stage ofthe proceedings;
                       and

                       d.      the right at trial to confront and cross-examine adverse witnesses,
                       to be protected from compelled self-incrimination, to testify and present
                       evidence, and to compel the attendance of witnesses.

        The defendant further understands that by entering into this Plea Agreement, the

 defendant knowingly and voluntarily waives any claim that the statements he made to the
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 Federal Bureau ofInvestigation should be suppressed based on the Fifth Amendment to, or any

 other provision of, the U.S. Constitution.

         5.    Sentencing Guidelines, Recommendations,and Roles

       The defendant understands that the Court has jurisdiction and authority to impose any

sentence within the statutory maximum described above, but that the Court will determine the

defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

that the Court has not yet determined a sentence and that any estimate of the advisory sentencing

range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

may have received from the defendant's counsel,the United States, or the Probation Office, is a

prediction, not a promise, and is not binding on the United States, the Probation Office, or the

Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker,543

U.S. 220(2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

impose a sentence above or below the advisory sentencing range, subject only to review by

higher courts for reasonableness. The United States makes no promise or representation

concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

plea based upon the actual sentence.

       Further, in accordance with Federal Rule of Criminal Procedure 11(c)(1)(B), the United

States and the defendant stipulate and will recommend to the Court that the following provisions

of the Sentencing Guidelines apply:

 Guidelines               Description                                               Offense Level

                          Base offense level (Gathering or Transmitting
 2M3.1(a)(2)              National Defense Information to Aid a Foreign                  37
                          Government)
 3B1.3                    Abuse of Position of Trust or Use of Special Skill             +2
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         The United States and the defendant further agree that the defendant has assisted the

government in the investigation and prosecution ofthe defendant's own misconduct by timely

notifying authorities of the defendant's intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting the government and the Court to allocate

their resources efficiently. If the defendant qualifies for a two-level decrease in offense level

pursuant to U.S.S.G. § 3El.l(a) and the offense level prior to the operation of that section is a

level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3E1.1(b), a motion prior

to, or at the time of, sentencing for an additional one-level decrease in the defendant's offense

level.


         The United States and the defendant have not agreed on any further sentencing issues,

whether related to the Sentencing Guidelines or the factors listed in 18 U.S.C. § 3553(a), other

than those set forth above or elsewhere in this Plea Agreement. Any stipulation on a Guidelines

provision does not limit the parties' arguments as to any other Guidelines provisions or

sentencing factors under Section 3553(a), including arguments for a sentence within or outside

the advisory Guidelines range found by the Court at sentencing.

         6.     Waiver of Appeal,FOIA,and Privacy Act Rights

         The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above (or the manner in

which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.

This agreement does not affect the rights or obligations ofthe United States as set forth in 18
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U.S.C. § 3742(b). The defendant also hereby waives ail rights, whether asserted directly or by a

representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution ofthis case, including without limitation

any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the

Privacy Act, 5 U.S.C. § 552a.

       7.      Immunity from Further Prosecution in This District

       The United States will not further criminally prosecute the defendant in the Eastern

District of Virginia for the specific conduct described in the Indictment or Statement of Facts,

except that the United States may prosecute the defendant for any crime of violence or

conspiracy to commit, or aiding and abetting, a crime of violence not charged in the Indictment

as an offense. In such a prosecution, the United States may allege and prove conduct described

in the Indictment or Statement of Facts. "Crime of violence" has the meaning set forth in 18

U.S.C. § 16.

        8.     Payment of Monetary Penalties and Potential Loss of Benefits

       The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613 and 18 U.S.C.

§ 3572, all monetary penalties imposed by the Court, including restitution, will be due

immediately and subject to immediate enforcement by the United States as provided for in

Section 3613. Within 14 days of a request, the defendant agrees to provide all of the defendant's

financial information to the United States and the Probation Office and, if requested, to

participate in a pre-sentencing debtor's examination and/or complete a financial statement under

penalty of perjury. If the Court imposes a schedule of payments,the defendant understands that

the schedule of payments is merely a minimum schedule of payments and not the only method,

nor a limitation on the methods, available to the United States to enforce the judgment. Until all
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monetary penalties are paid in full, the defendant will be referred to the Treasury Offset Program

so that any federal payment or transfer of returned property to the defendant will be offset and

applied to pay the defendant's unpaid monetary penalties. If the defendant is incarcerated, the

defendant agrees to participate voluntarily in the Bureau of Prisons' Inmate Financial

Responsibility Program, regardless of whether the Court specifically directs participation or

imposes a schedule of payments. Defendant agrees to make good-faith efforts toward payment

of all monetary penalties imposed by the Court.

       The defendant understands the potential consequences ofthis conviction set forth in 5

U.S.C. §8312.

        9.     Special Assessment

       Before sentencing in this case,the defendant agrees to pay a mandatory special

assessment of$100 per felony count of conviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).

       10.     Non-Disclosure Agreements

       The defendant acknowledges that, in connection with his employment by the U.S.

Department of Defense (including his employment with agencies, components, and contractors

of the U.S. Department of Defense), he entered into certain agreements proscribing the

unauthorized disclosure of classified information, confidential information, and other

information acquired as a part of the defendant's performance of his official duties. The

defendant acknowledges his continuing duties and obligations under those agreements, and they

are hereby incorporated by reference.

       The defendant understands his continuing legal obligation to refrain from the

unauthorized oral or written disclosure of information belonging to the U.S. government or

acquired by virtue of his U.S. government employment or derived from the activities that
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resulted in his conviction. Should the defendant at any time author or participate in the creation

of any book, writing, article, film, documentary, or other production, or otherwise provide

information for purposes of publication or dissemination, including but not limited to

information provided through interviews with writers or representatives of any media

organization or entity, the defendant hereby agrees first to submit in a timely fashion such book,

writing, article, film, documentary, or other production, or information, to the U.S. Department

of Defense for timely pre-publication review and deletion of information which, in the discretion

ofthe U.S. Department of Defense,should not be published or disseminated on the grounds of

national security or on any other grounds as are already the subject ofthe defendant's pre

existing agreements with the U.S. Department of Defense.

       The defendant agrees that he will notify U.S. Department of Defense in a timely manner

of any contacts he intends to have with any representative ofthe media in order to ensure that a

representative ofthe U.S. Department of Defense and/or other intelligence community

representative is present, unless such presence is explicitly waived by the U.S. Department of

Defense, to monitor the information being disseminated and, if necessary, to prevent the

unauthorized disclosure of information. Such contacts include, but are not limited to, contacts in

person, contacts by electronic means, and contacts via public or private mail carrier.

       12.     Assignment of Any Profits or Proceeds from Publicity

       The defendant hereby assigns to the United States any profits or proceeds which he may

be entitled to receive in connection with any publication or dissemination of information relating

to his work with the U.S. Department of Defense, his unlawful activities, the facts and

circumstances leading to his apprehension and conviction, or acquired from U.S. Department of

Defense files, and agrees that any such profits and/or proceeds constitute the proceeds of his
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unlawful activity for purposes of 18 U.S.C. § 794(d)(1)(A). This assignment shall include all

profits and proceeds for the benefit ofthe defendant, regardless of whether such profits and

proceeds are payable to himself or to others, directly or indirectly, for his benefit or for the

benefit ofthe defendant's associates or a current or future member of the defendant's family.

The defendant shall not circumvent this assignment by assigning the rights to his story to an

associate or to a current or future member of the defendant's family, or to another person or

entity who would provide some financial benefit to the defendant, to the defendant's associates,

or to a current or future member ofthe defendant's family. Moreover,the defendant shall not

circumvent this assignment by communicating with an associate or a family member for the

purpose of assisting or facilitating their profiting from a public dissemination, whether such an

associate or other family member is personally or directly involved in such dissemination.

        13.    No Foreign Agent Contacts

        The defendant shall have no contact with any foreign government or agents thereof,

except with the express permission ofthe U.S. Department of Defense, and shall not seek or

knowingly accept, personally or through another person or entity, any benefit from such foreign

government or agent thereof, and should such a benefit be received by the defendant, or some

other person or entity on his behalf, he hereby assigns any such benefit to the United States. For

purposes ofthis paragraph, any benefit provided to an associate ofthe defendant or to a current

or future family member ofthe defendant, which is related to, arises out of, or in recognition of,

the defendant's unlawful activities, is a benefit deemed provided to the defendant himself.
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        14.    Conditions of Incarceration


        The defendant is aware ofthe provisions of28 C.F.R. § 501.2 governing conditions of

incarceration in national security cases and acknowledges that the United States reserves the

right to exercise these provisions.

       15.     Breach of the Plea Agreement and Remedies

        This Plea Agreement is effective when signed by the defendant, the defendant's attorney,

and an attorney for the United States. The defendant agrees to entry ofthis Plea Agreement at

the date and time scheduled with the Court by the United States (in consultation with the

defendant's attorney). If the defendant withdraws from this agreement, or commits or attempts

to commit any additional federal, state, or local crimes, or intentionally gives materially false,

incomplete, or misleading testimony or information, or otherwise violates any provision ofthis

agreement, then:

               a. The United States will be released from its obligations under this agreement.
                  The defendant, however, may not withdraw the guilty plea entered pursuant to
                  this agreement.

               b. The defendant will be subject to prosecution for any federal criminal
                  violation, including, but not limited to, perjury and obstruction ofjustice, that
                  is not time-barred by the applicable statute of limitations on the date this
                  agreement is signed. Notwithstanding the subsequent expiration ofthe statute
                  of limitations, in any such prosecution, the defendant agrees to waive any
                   statute-of-limitations defense.

               c. Any prosecution, including the prosecution that is the subject ofthis
                  agreement, may be premised upon any information provided, or statements
                  made, by the defendant, and all such information, statements, and leads
                  derived therefrom may be used against the defendant. The defendant waives
                  any right to claim that statements made before or after the date ofthis
                  agreement, including the Statement of Facts accompanying this agreement or
                  adopted by the defendant and any other statements made pursuant to this or
                  any other agreement with the United States, should be excluded or suppressed
                   under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f), the Sentencing Guidelines, or
                   any other provision of the Constitution or federal law.
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       Any alleged breach ofthis agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

be admissible and at which the moving party shall be required to establish a breach of this Plea

Agreement by a preponderance ofthe evidence.

       16.     Nature of the Agreement and Modifications

       This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant's counsel. The defendant and the defendant's attorney

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other than those set forth in writing in this Plea Agreement or any associated documents

filed with the Court, to cause the defendant to plead guilty. Any modification ofthis Plea

Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement

signed by all parties.


                                          G.Zachary Terwilliger
                                          United States Attorney



                                          Thomas W.Traxler
                                          James L. Trump
                                          Assistant United States Attorneys




                                              fid Aaron
                                          Trial Attorney, U.S. Department of Justice




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         Defendant's Signature: I hereby agree that I have consulted with my attorney and fully
understand all rights with respect to the pending criminal Indictment. Further, I fully understand
all rights with respect to 18 U.S.C. § 3553 and the provisions ofthe Sentencing Guidelines
Manual that may apply in my case. I have read this Plea Agreement and carefully reviewed
every part of it with my attorney. I understand this agreement and voluntarily agree to it.


 Date:       / / hs)
                                                  'k Rafael Dzibinski Debbins

         Defense Counsel's Signature: I am counsel for the defendant in this case. I have fully
explained to the defendant the defendant's rights with respect to the pending Indictment.
Further, I have reviewed IS U.S.C. § 3553 and the Sentencing Guidelines Manual, and I have
fully explained to the defendant the provisions that may apply in this case. I have carefully
reviewed every part of this Plea Agreement with the defendant. To my knowledge,the
defendant's decision to enter into this agreement is an informed and voluntary one.


 Date: I I /1          O                                . Barbate
                                               Counsel for the Defendant




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